                                      Case 2:15-cv-00413-BLW Document 1 Filed 09/10/15 Page 1 of 18
 OJS 44 (Rev. 12/07)                                                          CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Admiral Insurance Company                                                                                        Omega Demolition Corp.


      (b) County of Residence of First Listed Plaintiff               Burlington County, NJ                     County of Residence of First Listed Defendant                Kane County, IL
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.

      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
Litchfield Cavo, 420 E. South Temple, Suite 510
Salt Lake City, UT 84111 (801) 359-0091

 II. BASIS OF JURISDICTION                             (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
 ’ 1     U.S. Government                  ’ 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State         ’ 1         ’ 1      Incorporated or Principal Place      ’ 4     ’ 4
                                                                                                                                                           of Business In This State

 ’ 2     U.S. Government                  ’ 4 Diversity                                                 Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place     ’ 5      ’ 5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
 ’   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              ’ 610 Agriculture                   ’ 422 Appeal 28 USC 158           ’   400 State Reapportionment
 ’   120 Marine                       ’    310 Airplane                 ’ 362 Personal Injury -         ’ 620 Other Food & Drug             ’ 423 Withdrawal                  ’   410 Antitrust
 ’   130 Miller Act                   ’    315 Airplane Product               Med. Malpractice          ’ 625 Drug Related Seizure                28 USC 157                  ’   430 Banks and Banking
 ’   140 Negotiable Instrument                 Liability                ’ 365 Personal Injury -               of Property 21 USC 881                                          ’   450 Commerce
 ’   150 Recovery of Overpayment      ’    320 Assault, Libel &               Product Liability         ’ 630 Liquor Laws                     PROPERTY RIGHTS                 ’   460 Deportation
        & Enforcement of Judgment              Slander                  ’ 368 Asbestos Personal         ’ 640 R.R. & Truck                  ’ 820 Copyrights                  ’   470 Racketeer Influenced and
 ’   151 Medicare Act                 ’    330 Federal Employers’             Injury Product            ’ 650 Airline Regs.                 ’ 830 Patent                              Corrupt Organizations
 ’   152 Recovery of Defaulted                 Liability                      Liability                 ’ 660 Occupational                  ’ 840 Trademark                   ’   480 Consumer Credit
         Student Loans                ’    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                   ’   490 Cable/Sat TV
         (Excl. Veterans)             ’    345 Marine Product           ’ 370 Other Fraud               ’ 690 Other                                                           ’   810 Selective Service
 ’   153 Recovery of Overpayment               Liability                ’ 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 ’   850 Securities/Commodities/
         of Veteran’s Benefits        ’    350 Motor Vehicle            ’ 380 Other Personal            ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                        Exchange
 ’   160 Stockholders’ Suits          ’    355 Motor Vehicle                  Property Damage                 Act                           ’ 862 Black Lung (923)            ’   875 Customer Challenge
 ’   190 Other Contract                        Product Liability        ’ 385 Property Damage           ’ 720 Labor/Mgmt. Relations         ’ 863 DIWC/DIWW (405(g))                  12 USC 3410
 ’   195 Contract Product Liability   ’    360 Other Personal                 Product Liability         ’ 730 Labor/Mgmt.Reporting          ’ 864 SSID Title XVI              ’   890 Other Statutory Actions
 ’   196 Franchise                             Injury                                                        & Disclosure Act               ’ 865 RSI (405(g))                ’   891 Agricultural Acts
        REAL PROPERTY                        CIVIL RIGHTS                PRISONER PETITIONS             ’ 740 Railway Labor Act               FEDERAL TAX SUITS               ’   892 Economic Stabilization Act
 ’   210 Land Condemnation            ’    441 Voting                   ’ 510 Motions to Vacate         ’ 790 Other Labor Litigation        ’ 870 Taxes (U.S. Plaintiff       ’   893 Environmental Matters
 ’   220 Foreclosure                  ’    442 Employment                     Sentence                  ’ 791 Empl. Ret. Inc.                      or Defendant)              ’   894 Energy Allocation Act
 ’   230 Rent Lease & Ejectment       ’    443 Housing/                    Habeas Corpus:                     Security Act                  ’ 871 IRS—Third Party             ’   895 Freedom of Information
 ’   240 Torts to Land                        Accommodations            ’ 530 General                                                             26 USC 7609                         Act
 ’   245 Tort Product Liability       ’    444 Welfare                  ’ 535 Death Penalty                   IMMIGRATION                                                     ’   900Appeal of Fee Determination
 ’   290 All Other Real Property      ’    445 Amer. w/Disabilities -   ’ 540 Mandamus & Other          ’ 462 Naturalization Application                                              Under Equal Access
                                              Employment                ’ 550 Civil Rights              ’ 463 Habeas Corpus -                                                         to Justice
                                      ’    446 Amer. w/Disabilities -   ’ 555 Prison Condition               Alien Detainee                                                   ’   950 Constitutionality of
                                              Other                                                     ’ 465 Other Immigration                                                       State Statutes
                                      ’    440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
 ’ 1 Original            ’ 2 Removed from                    ’ 3 Remanded from                     ’ 4 Reinstated or ’ 5 Transferred  from
                                                                                                                         another district  ’ 6 Multidistrict                        ’ 7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              28 U.S.C. 2201
 VI. CAUSE OF ACTION Brief description of cause:
                                              Action for declaratory judgment regarding insurance company obligations
 VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                   DEMAND $                                     CHECK YES only if demanded in complaint:
      COMPLAINT:          UNDER F.R.C.P. 23                                                                                                             JURY DEMAND:         ’ Yes     ✔
                                                                                                                                                                                       ’ No
 VIII. RELATED CASE(S)
                        (See instructions):
       IF ANY                               JUDGE                                                                                               DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
   09/10/2015
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE



                   Print                                 Save As...                            Export as FDF                         Retrieve FDF File                                Reset
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JS 44 Reverse (Rev. 12/07)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                  Authority For Civil Cover Sheet
   The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.
         (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.
IV.     Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity.          Example:               U.S. Civil Statute: 47 USC 553
                                                  Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.
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ATTORNEYS FOR PLAINTIFF ADMIRAL INSURANCE
COMPANY


                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


ADMIRAL INSURANCE COMPANY,
                                                      ADMIRAL INSURANCE COMPANY’S
       Plaintiff,                                      COMPLAINT FOR DECLARATORY
                                                               JUDGMENT
v.

OMEGA DEMOLITION, CORP.,
                                                               Case No. 2:15-cv-00413
       Defendant.



       NOW COMES Plaintiff Admiral Insurance Company, by its attorneys, Litchfield Cavo

LLP, and pursuant to 28 U.S.C. §2201(a) seeks a declaratory judgment and other relief against

Defendant Omega Demolition Corp. In support thereof, Admiral states as follows:

                                 NATURE OF THE ACTION

       1.       This action is brought as a claim for declaratory judgment, pursuant to 28 U.S.C.

§2201(a) seeking a determination regarding (1) the obligations of Admiral Insurance Company

(“Admiral”), if any, to Omega Demolition Corp. (hereinafter “Omega”) under an insurance

policy issued to Advanced Explosives Demolition Inc. (hereinafter “AED”). The dispute

between the parties concerns Omega’s request for insurance coverage with respect to certain
             Case 2:15-cv-00413-BLW Document 1 Filed 09/10/15 Page 4 of 18



alleged liabilities arising out of an underlying lawsuit filed by claimant James McWorthey.

                                            PARTIES

        2.       Admiral Insurance Company (“Admiral”) is a corporation organized under laws

of the state of Delaware, with its principal place of business in New Jersey.

        3.       Defendant Omega is an Illinois corporation who had entered into a contract with

Admiral’s named insured AED, an Idaho corporation located in Tensed, Idaho.

                                 JURISDICTION AND VENUE

        4.       This Court has subject matter jurisdiction over this dispute under 28 U.S.C. §

1332 in that it arises between citizens of different states and, based on the cause and nature of the

injuries alleged, the compensatory damages demanded in the underlying lawsuit, and the demand

by Omega for payment or reimbursement of costs incurred in defending against the underlying

lawsuit, the amount in controversy exceeds the sum or value of $75,000.00 exclusive of interest

and costs.

        5.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to this declaratory judgment lawsuit

occurred in this District.

                                 THE UNDERLYING CLAIM

        6.       On August 15, 2013, James McWorthey (“McWorthey”) filed a lawsuit in the

Circuit Court of the City of St. Louis, Missouri against his employer, Omega (the “Underlying

Lawsuit”). See Exhibit A, a copy of the August 15, 2013 Petition. On March 4, 2014,

McWorthey filed a First Amended Petition against Omega. See Exhibit B, a copy of the March 4,

2014 Amended Petition (collectively the “Petition”).




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       7.       The Petition alleges that Omega is liable to its employee, McWorthey, for

damages under the Merchant Marine Act of 1920, which is more commonly known as the “Jones

Act” and codified at 46 U.S.C. §30104, et seq. (the “Jones Act”).

       8.       The Petition alleges that on July 24, 2013 McWorthey was employed by Omega

on the Milton-Madison Bridge Demolition project, which was being conducted by Omega.

       9.       The Petition alleges that McWorthey worked off a barge which was a vessel in

navigation and was subject to the perils of the sea.

       10.      The Petition alleges that Omega was a corporation which assumed all liabilities of

the Plaintiff’s employment and was in the business of demolishing and removing the Milton-

Madison Bridge over and in the Ohio River. The Petition further alleges that Omega operated

towboats, work boats, safety boats and barges upon the Ohio River.

       11.      The Petition goes on to allege that while in the performance of his duties,

McWorthey suffered catastrophic injuries while guiding a tow boat and a machine that was

operating off a barge.

       12.      McWorthey alleges in the Petition that Omega was negligent in failing to: provide

McWorthey a safe place to work; implement proper procedures; provide McWorthey with

adequate tools and equipment to perform his assigned duties; inspect the demolished bridge after

demolition; and properly supervise the project. McWorthey also alleges that Omega’s vessels

and appurtenances were, at the time of his accident, “unseaworthy and not reasonably fit for their

intended purposes”. Additionally, McWorthey alleges that Omega “failed to meet its duty under

General Maritime Law to provide its employee, the Plaintiff, with full and adequate maintenance

and cure for said injuries.”




                                                 3
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                              THE AED-OMEGA SUB-CONTRACT

       13.     On or about May 10, 2013, Omega negotiated and entered into a subcontract with

AED, an Idaho corporation, wherein AED agreed to provide explosive demolition services to

Omega with respect to the Madison-Milton Bridge demolition project (the AED-Omega

Subcontract). On information and belief, a true and correct copy of the subcontract is attached as

Exhibit C.

       14.     The AED-Omega Subcontract contains an indemnification provision which

recites as follows:

       1.25 Subcontractor shall assume the entire liability for any and all personal injury
       and/or property loss claims suffered by its own employees and/or by other persons
       allegedly injured on the project or claiming in any manner to have incurred any
       personal injury and/or property loss as a result of or concerning the project or
       scope of work which is the subject of this agreement. Subcontractor waives any
       limitation-of-liability defense based upon any workers’ compensation laws or any
       interpretation of them and Subcontractor shall fully and completely indemnify,
       defend and hold harmless Omega and its employees, agents and assigns
       (collectively, “Indemnities”) from and against any and all losses as a result of
       such claims, and subcontractor shall incorporate the terms and conditions of this
       waiver into all of its sub-subcontracts.

(See Exhibit C.)
                                  THE ADMIRAL POLICY

       15.     Admiral issued Policy No. CA000017445-01 to Advanced Explosives

Demolition, Inc., located in Tensed, Idaho, for the policy period of February 22, 2013 to

February 22, 2014 (the “Admiral Policy”). See Exhibit D, the Admiral Policy.

       16.     The Admiral Policy provides commercial general liability coverage (“CGL

Coverage”) with limits of liability of $1,000,000 per occurrence subject to a $2,000,000 general

aggregate. (See Exhibit D.)

       17.     The terms of the CGL Coverage provide under Coverage A that Admiral will pay

those sums that the insured becomes legally obligated to pay as damages because of “bodily

injury” that occurs during the policy period and is caused by an “occurrence.” The insuring


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agreement for Coverage A also provides that Admiral has the right and duty to defend any “suit”

seeking covered damages. It further provides that no duty to defend will be owed, however, in

relation to any "suit" seeking damages to which the coverage does not apply. (See Exhibit D.)

       18.     Section V of the Admiral Policy contains certain definitions, including the

following definitions, quoted in pertinent part as follows:

               3.      “Bodily injury” means bodily injury, sickness or disease sustained
                       by a person, including death resulting from any of these at any
                       time.

                                       *       *       *

               13.     “Occurrence” means an accident, including continuous or repeated
                       exposure to substantially the same general harmful conditions.

(See Exhibit D.)

       19.     Through Endorsement CG 24 26 07 04 to the Admiral Policy, the term “insured

contract” is defined, in relevant part, as follows:

               9.      “Insured contract” means:

                       f.      That part of any other contract or agreement pertaining to
                               your business (including an indemnification of a
                               municipality in connection with work performed for a
                               municipality) under which you assume the tort liability of
                               another party to pay for “bodily injury” or “property
                               damage” to a third person or organization, provided the
                               “bodily injury” or “property damage” is caused, in whole or
                               in part, by you or by those acting on your behalf. Tort
                               liability means a liability that would be imposed by law in
                               the absence of any contract or agreement.

(See Exhibit D.)

       20.     The “Additional Insured – Owners, Lessees or Contractors – Scheduled Person or

Organization” endorsement, Form CG 20 10 07 04 of the Admiral Policy provides as follows:

       This endorsement modifies insurance provided under the following:

               COMMERCIAL GENERAL LIABILITY COVERAGE PART



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                                       SCHEDULE

                Name of Additional Insured Person(s) or Organization(s):

                Any person or organization that is … a contractor on whose behalf
                you are performing ongoing operations, but only if coverage as an
                additional insured is required by a written contract or written
                agreement that is an “insured contract” and provided that the
                “bodily injury,” … first occurs subsequent to execution of the
                contract or agreement.

                                                * * *

                Section II—Who Is An Insured is amended to include as an
                additional insured the person(s) or organization(s) shown in the
                Schedule, but only with respect to liability for “bodily injury,” …
                caused, in whole or in part, by:

                1. Your acts or omissions; or

                2. The acts or omissions of those acting on your behalf;

                in the performance of your ongoing operations for the additional
                insured(s) at the location(s) designated above.

(See Exhibit D.)

       21.      The Admiral Policy contains and “Absolute Employers Liability” Exclusion,

Endorsement AD 68 86 05 11 which provides as follows:

       Commercial General Liability Coverage Form Section I Coverage A Exclusion e.
       is deleted in its entirety and replaced by the following:

       e.       Employer’s Liability

                “Bodily injury” to:

                (1)    Any “employee” of any insured arising out of and in the course of:

                       (a)     Employment by any insured; or

                       (b)     Performing duties related to the conduct of any insured’s
                               business; or

                (2)     The spouse, child, parent, brother, sister or registered domestic
                        partner of that “employee” as a consequence of Paragraph (1)
                        above.


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               This exclusion applies:

               (1)    Whether any insured may be liable as an employer or in any other
                      capacity; and

               (2)    To any obligation to share damages with or repay someone else
                      who must pay damages because of the injury.

               It is further agreed that Definition 9. [“insured contract”] Paragraph f. is
               amended to include the following subparagraph (4):

               (4)    Under which any insured assumes liability for “bodily injury” to an
                      “employee” of any insured arising out of and in the course of
                      employment by any insured or performing duties related to the
                      conduct of any insured’s business; or to the spouse, child, parent,
                      brother, sister, or registered domestic partner of that “employee”.

               We shall have no duty to investigate, defend or indemnify any insured
               against any loss, claim, “suit,” demand, fine or other proceeding alleging
               injury or damages of any kind, to include but not limited to “bodily
               injury,” “property damage”, or “personal and advertising injury” to which
               this endorsement applies.

(See Exhibit D.)

       22.     The Admiral Policy contains, at Section I, Subsection 2.d., the following

“Workers' Compensation and Similar Laws” exclusion, which states in pertinent part            as

follows:

       This insurance does not apply to:

       d. Workers Compensation and Similar Laws
             Any obligation of the insured under a workers' compensation, disability
             benefits or unemployment compensation law or any similar law.

(See Exhibit D.)

       23.     The Admiral Policy contains, at Section I, Subsection 2.g., the following

“Aircraft, Auto or Watercraft” exclusion, which states in pertinent part as follows:

       This insurance does not apply to:

       g. Aircraft, Auto or Watercraft



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                 "Bodily injury" . . . arising out of the ownership, maintenance, use or
                 entrustment to others of any . . . watercraft owned or operated by or rented
                 or loaned to any insured. Use includes operation and "loading or
                 unloading".

                 This exclusion applies even if the claims against any insured allege
                 negligence or other wrongdoing in the supervision, hiring, employment,
                 training or monitoring of others by that insured, if the "occurrence" which
                 caused the "bodily injury" . . . involved the ownership, maintenance, use
                 or entrustment to others of any . . . watercraft that is owned or operated by
                 or rented or loaned to any insured.

                 This exclusion does not apply to:

                 (1)    A watercraft while ashore on premises you own or rent;

                 (2)    A watercraft you do not own that is:

                        (a)     Less than 26 feet long; and

                        (b)     Not being used to carry persons or property for a charge;

                                               *     *   *

                 (4)    Liability assumed under any "insured contract" for the ownership,
                        maintenance or use of aircraft or watercraft; . . .


(See Exhibit D.)

        24.      Admiral’s coverage obligations, if any, are also predicated upon an insured’s

performance of its obligations under the Admiral Policy. In particular, the insured is required to

provide timely notice of occurrences, claims and suits. (See Exhibit D, Section IV, Condition

2.a.)

        25.      The Admiral Policy requires an insured to provide notice of an “occurrence” as

soon as practicable. (See Exhibit D, Section IV, Condition 2.b). In the case of a claim or “suit”,

an insured must immediately send to Admiral copies of any demands, notices, summonses or

legal papers received in connection with the claim or “suit.” (See Exhibit D, Section IV,

Condition 2.c)



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       26.     In addition, the Admiral Policy states that no insured will, except at that insured's

own cost, voluntarily make a payment, assume any obligation, or incur any expense, other than

for first aid, without Admiral’s consent. (See Exhibit D, Section IV, Condition 2.d.)

       27.     The Admiral Policy also provides the following “Other Insurance” provisions,

which in pertinent part state:

       4.      Other Insurance

       If other valid and collectible insurance is available to the insured for a loss
       we cover under Coverages A or B of this Coverage Part, our obligations
       are limited as follows:

               a.        Primary Insurance

               This insurance is primary except when Paragraph b. below applies.
               If this insurance is primary, our obligations are not affected unless
               any of the other insurance is also primary. Then, we will share
               with all that other insurance by the method described in Paragraph
               c. below.
                    b. Excess Insurance

                    (1) This insurance is excess over:

                        (a) Any of the other insurance, whether primary, excess,
                             contingent or on any other basis: . . .

                            (iv)   If the loss arises out of the maintenance or use of .
                                   . . watercraft to the extent not subject to Exclusion
                                   g. of Section I-Coverage A-Bodily Injury And
                                   Property Damage Liability.

(See Exhibit D, Section IV, Condition 4).

                                       The Coverage Disputes

       28.     Omega has demanded insurance coverage from Admiral in connection with its

potential liability arising from the injuries alleged by Mr. McWorthey in the Underlying Lawsuit.

       29.     Omega claims that it is entitled to coverage as an additional insured under the

Admiral Policy which Admiral issued to its named insured, AED, an Idaho corporation.


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          30.    Admiral disputes that Omega is entitled to coverage under the Admiral Policy in

connection with the injuries alleged by Mr. McWorthey and/or the damages sought in the

Underlying Lawsuit.

          31.    A genuine dispute exists between Admiral and Omega regarding whether

coverage is owed under the Admiral Policy in relation to the injuries alleged by Mr. McWorthey

and/or the damages sought in the Underlying Lawsuit and if so, the extent of such coverage.

                                              COUNT I

          32.    Admiral incorporates Paragraphs 1 through 31 above as and for Paragraph 32 of

Count I.

          33.    The “Additional Insured – Owners, Lessees or Contractors – Scheduled Person or

Organization” endorsement to the Admiral Policy (Form CG 20 10 07 04) provides in its

Schedule that the following persons or organizations are additional insured persons or

organizations:

                Any person or organization that is … a contractor on whose behalf
                you are performing ongoing operations, but only if coverage as an
                additional insured is required by a written contract or written
                agreement that is an “insured contract”....

          34.    The AED-Omega Subcontract does not meet the definition of an “insured

contract” as defined by the Admiral Policy.

          35.    Because there is no “written contract or written agreement that is an ‘insured

contract’” between AED and Omega, Omega is not an “Additional Insured” on the Admiral

Policy.

          36.    Alternatively, even if Omega were to qualify as an Additional Insured upon the

Admiral Policy, there is no coverage for Omega for the Underlying Lawsuit for one or more of

the following reasons.




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       37.     The “Additional Insured-Designated Person or Organization” endorsement of the

Admiral Policy provides that, for those qualifying as an additional insured person or

organization, coverage is limited to “bodily injury”, “property damage” or “personal and

advertising injury” that is “caused in whole or in part, by” AED’s “acts or omissions” or “the

acts or omissions of those acting on [AED’s] behalf.”

       38.     The Underlying Lawsuit against Omega does not seek recovery from Omega for

“bodily injury” caused by AED’s acts or omissions, or the acts or omissions of those acting on

AED’s behalf. Rather, the allegations in the Underlying Lawsuit against Omega consist solely of

claims of negligence against Omega due to Omega’s alleged failure to provide McWorthey a

safe place to work; implement proper procedures; provide McWorthey with adequate tools and

equipment to perform his assigned duties; inspect the demolished bridge after demolition; and

properly supervise the project.

       39.     As such, there is no coverage for Omega pursuant to the terms of the “Additional

Insured-Designated Person or Organization” endorsement.

       40.     Further, the Admiral Policy contains an Absolute Employers Liability Exclusion

which bars coverage for bodily injury to any employee of any insured, arising out of and in the

course of: a) employment by any insured; or b) performing duties related to the conduct of any

insured’s business.

       41.     The Underlying Lawsuit specifically alleges that Mr. McWorthey was an

employee of Omega, and that he was injured during the course of his work for Omega.

       42.     As such, the Absolute Employers Exclusion applies to bar coverage for Omega

under the Admiral Policy for the Underlying Lawsuit.




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       43.      Also, the Admiral Policy contains a Workers Compensation and Similar Laws

exclusion which bars coverage for any obligation of the insured under a workers’ compensation,

disability benefits or unemployment compensation law or any similar law.

       44.      Mr. McWorthey filed his suit against Omega pursuant to the Jones Act. The

Jones Act is a federal statute that provides a negligence remedy against a seaman’s employer for

the injury or death of a seaman. McWorthey’s suit alleges that he is a seaman, and that Omega is

his employer.

       45.      As such, the Workers Compensation and Similar Laws Exclusion applies to bar

coverage for Omega under the Admiral Policy for the Underlying Lawsuit.

       46.      Additionally, the Admiral Policy contains an Aircraft, Auto or Watercraft

Exclusion, which among other things bars coverage for injury arising out of “the ownership,

maintenance, use, or entrustment to others of any . . . watercraft owned or operated by or rented

or loaned to any insured.”

       47.      The Underlying Lawsuit alleges that “while in the performance of his duties, [Mr.

McWorthey] suffered catastrophic injuries while guiding a tow boat and a machine that was

operating off of a barge.” It is further alleged that Omega “operated towboats, work boats, safety

boats and barges” and that “at all times herein mentioned, all vessels and boats were in the

possession and/or control of” Omega. Additionally, the Underlying Lawsuit alleges that

Omega’s “vessels and appurtenances were at that time, unseaworthy and not reasonably fit for

there (sic) intended purposes”, and that his “injuries were a direct and proximate result thereof.”

       48.      As such, the Aircraft, Auto or Watercraft Exclusion applies to bar coverage for

Omega under the Admiral Policy for the Underlying Lawsuit.

       49.      Finally, Condition 2 of the Admiral Policy requires notification to Admiral of an

“occurrence” as soon as practicable.



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       50.      On information and belief, Omega knew about the underlying incident and/or

“occurrence” on or about the date it happened on July 24, 2013.

       51.      Despite its knowledge of the “occurrence”, however, Omega did notify Admiral

of the “occurrence” until February 26, 2015, which is approximately nineteen months after the

incident.

       52.      Omega’s notice of an occurrence to Admiral did not constitute notice to Admiral

“as soon as practicable”.

       53.      As such, Omega did not comply with Condition 2 of the Admiral Policy with

respect to timely notice of occurrences.

       54.      Due to this breach of Condition 2, coverage for Omega under the Admiral Policy

for the Underlying Lawsuit is barred.

       55.      Condition 2 of the Admiral Policy also requires that the insured immediately send

to Admiral copies of any demands, notices, summonses or legal papers received in connection

with any claim or suit.

       56.      Omega was named as a defendant in the Underlying Lawsuit on August 15, 2013.

       57.      Omega, however, did not send Admiral copies of any of the demands, notices,

summonses or legal papers it received in connection with the Underlying Lawsuit until February

26, 2015, more than 18 months after Omega was sued in the Underlying Lawsuit.

       58.      This does not comply with the requirement in Condition 2 of the Admiral Policy

that the insured immediately send Admiral copies of the demands, notices, summonses or legal

papers it receives in connection with a suit.

       59.      As such, Omega did not comply with Condition 2 of the Admiral Policy with

respect to the immediate forwarding of demands, notices, summonses or legal papers it received

in connection with the Underlying Lawsuit.



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       60.    Due to this breach of Condition 2, coverage for Omega under the Admiral Policy

for the Underlying Lawsuit is barred.

       61.    Therefore, Omega is not entitled to coverage as an additional insured under the

Admiral Policy for one or more of the following reasons:

       a.     There is no coverage for Omega under the Admiral Policy because Omega does

              not qualify as an Additional Insured under the Admiral Policy;

       b.     There is no coverage for Omega under the Admiral Policy because the AED-

              Omega Subcontract does not qualify as an “insured contract” as defined by the

              Admiral Policy;

       c.     There is no coverage for Omega under the Admiral Policy because Omega’s

              liability was not caused, in whole or in part, by AED’s acts or omissions, or the

              acts or omissions of those acting in AED’s behalf, in the performance of AED’s’

              ongoing operations for Omega; and/or

       d.     There is no coverage for Omega under the Admiral Policy because the Admiral

              Policy’s Absolute Employers Liability exclusion applies to bar coverage for

              Omega;

       e.     There is no coverage for Omega under the Admiral Policy because the Admiral

              Policy’s Workers Compensation and Similar Laws exclusion applies to bar

              coverage for Omega;

       f.     There is no coverage for Omega under the Admiral Policy because the Admiral

              Policy’s Aircraft, Auto or Watercraft exclusion applies to bar coverage for

              Omega; and/or

       g.     There is no coverage for Omega under the Admiral Policy because Omega

              breached one or more of the provisions of Condition 2 of the Admiral Policy;



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       62.     In the alternative, should it be found that Omega qualifies as an Additional

Insured under the Admiral Policy, and that coverage is not barred for one or more of the reasons

identified above, any coverage to Omega under the Admiral Policy would be excess of any of

Omega’s other insurance, whether primary, excess, contingent or any other basis, pursuant to

Condition 4.b.(1)(a)(iv) of the Admiral Policy, which would make any coverage by Admiral

excess where the loss arises out of the maintenance or use of watercraft.

       WHEREFORE, pursuant to 28 U.S.C. §2201(a), Admiral Insurance Company requests

that this Court enter a judgment and order, declaring the rights and obligations of the parties as

follows:

       A.      Declaring and adjudicating the rights and obligations of the parties with respect to

               coverage under the Admiral Policy with respect to the Underlying Lawsuit and

               any other claims or demands arising from or relating to the injuries allegedly

               sustained by James McWorthey;

       B.      Declaring that Admiral has no duty or obligation under the Admiral Policy to

               defend or indemnify Omega Demolition Corp. with respect to the Underlying

               Lawsuit or for any other claims or demands arising from or relating to the injuries

               allegedly sustained by James McWorthey;

       C.      For such other declaratory relief as the Court deems appropriate.

       Dated: September 10th , 2015

                                             LITCHFIELD CAVO, LLP



                                             By:      s/Jennifer M. Brennan
                                                   Attorneys for Plaintiff Admiral
                                                   Insurance Company




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